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       5.      I understand that, on April 29, 2024, the U.S. Department of Education

("USED") published a new regulation under Title IX, titled Nondiscrimination on the Basis of Sex

in Education Programs or Activities Receiving Federal Financial Assistance. That regulation, among

other things, redefines "sex" to include gender identity and sexual orientation, broadens the

definition of sexual harassment, and creates new enforcement procedures under Title IX.

       6.      Unless a court steps in, this new rule will harm New College and its students.

       7.      The rule conflicts with Florida laws that govern public universities. See) e.g., Fla.

S tat. Ann. §553.865 (bathrooms); Fla. S tat. Ann. §1006.205 (sports); Fla. S tat. §1000.05(3)

(discrimination in sports).

       8.      If any program or activity at New College is determined not to comply with the

requirements of Title IX, USED can terminate federal funding to that program or activity.

       9.      Compliance with the new rule is burdensome and costly. The rule is over a

thousand pages long; it will take substantial time and money to review the rule and existing

policies, to determine what the rule requires, and to act to come into compliance with it. To

take one example, New College has Title IX policies. These policies will have to be reviewed,

rewritten, and reapproved, which is costly and burdensome. It will also take time and money

to train officials on the rule and the new policies implementing it.

       10.    USED agrees. It estimates that the compliance costs will be "$4.6 million to

$18.8 million over ten years." 89 Fed. Reg. at 33,851, 33,861. It "acknowledges" that "it will

take some time to review requirements and revise policies and procedures to align with [the

rule's] requirements." Id. at 33,851. It will cost "time," and money "reading and understanding

the regulations; revising policies; publishing notices of nondiscrimination; training Title IX



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